                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      NO. 3:06-00031-10
                                                   )      JUDGE CAMPBELL
TERRY BATES                                        )


                                           ORDER

      Pending before the Court is a Second Motion to Reset Revocation Hearing (Docket No. 870).

The Motion is GRANTED.

      The hearing on the Petition (Docket No. 850) alleging violations of Defendant’s conditions

of Supervised Release is CONTINUED to November 4, 2013, at 2:30 p.m.

      It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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